12 F.3d 206
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.UNITED STATES of America, Plaintiff-Appellee,v.Andrew WINDSOR, Defendant-Appellant.
    No. 93-6837.
    United States Court of Appeals,Fourth Circuit.
    Submitted:  October 25, 1993.Decided:  November 17, 1993.
    
      Appeal from the United States District Court for the Eastern District of Virginia, at Alexandria.
      Andrew Windsor, Appellant Pro Se.
      Bradley Stuart Lui, Senior Assistant United States Attorney, for Appellee.
      E.D.Va.
      AFFIRMED.
      Before ERVIN, Chief Judge, and PHILLIPS and WILKINSON, Circuit Judges.
      PER CURIAM:
    
    OPINION
    
      1
      Appellant appeals from the district court's order denying his 28 U.S.C. Sec. 2255 (1988) motion.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  United States v. Windsor, Nos.  CR-90-228-A;  CA-91-937-AM (E.D. Va.  July 7, 1993).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.*
    
    AFFIRMED
    
      
        *
         Since the Court has received all necessary papers in this case, Windsor's motion for an extension of time to respond to the docketing statement is moot
      
    
    